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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  (Richmond Division)



In re:
                                                          Chapter 7
LeClairRyan PLLC,
                                                          Case No. 19-34574 (KRH)
             Debtor.
________________________________

Lynn L. Tavenner, as Chapter 7 Trustee,

                 Plaintiff,

v.                                                        Adv. Proc. No. 20-03142 (KRH)

ULX Partners, LLC and UnitedLex
Corporation,

                 Defendants.


                              AGREED STIPULATION AND ORDER

         The Parties, plaintiff Lynn L. Tavenner, as Chapter 7 Trustee (the “Plaintiff”) and

defendants ULX Partners, LLC and UnitedLex Corporation (collectively, the “Defendants”),

by their respective counsel, and subject to approval by the Court, stipulate and agree to the

following:

         1.    On July 20, 2021, this Court entered an Order [Docket No. 58] requiring the

Defendants to file their Answer(s) to the original Complaint [Docket No. 4] (the “Original

Complaint”) in this matter no later than August 10, 2021 (the “Answer Order”).
_____________________________________
Thomas J. McKee, Jr. (VSB No. 68427)
Greenberg Traurig LLP
1750 Tysons Boulevard, Suite 1000
McLean, Virginia 22102
Telephone: (703) 749-1300
Fax: (703) 749-1301
Email: mckeet@gtlaw.com
Counsel for ULX Partners, LLC and UnitedLex Corporation
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       2.          On July 22, 2021, counsel for the Plaintiff informed the Defendants and this

Court that the Plaintiff intends to file a Motion for Leave to File an Amended Complaint in this

matter (the “Anticipated Motion for Leave”) in order for such motion to be heard by this

Court at the next Omnibus Hearing of August 19, 2021.

       3.          In light of the Anticipated Motion for Leave, the Parties agree, subject to the

Court’s approval, that the Defendants’ deadline to file their answer(s) to the Original Complaint

as set forth in the Answer Order is vacated and that the following shall instead apply:

              i.   In the event the Plaintiff opts against filing the Anticipated Motion for Leave,

                   then the Plaintiff shall file a Notice of Answer Deadline with the Court

                   indicating that Defendants will file their answer(s) to the Original Complaint no

                   later than August 24, 2021.

             ii.   In the event the Plaintiff files the Anticipated Motion for Leave and the Court

                   denies such Motion, leaving the Original Complaint as the operative complaint

                   in this matter, then Defendants shall file their answer(s) to the Original

                   Complaint no later than fourteen (14) calendar days after entry of the Court’s

                   Order denying the Anticipated Motion for Leave.

            iii.   In the event the Plaintiff files the Anticipated Motion for Leave and the Court

                   grants such Motion permitting the filing of an Amended Complaint, or if

                   Defendants and/or their counsel consent in writing to the relief requested in the

                   Anticipated Motion on or before August 5, 2021 (the “Written Consent”), then

                   Defendants shall file (i) their answer(s) to the Amended Complaint or (ii) any

                   other response to the Amended Complaint as permitted by the Bankruptcy

                   Code, any rule, statute, or as otherwise authorized by the Bankruptcy Court, no

                   later than twenty-one (21) calendar days after either the entry of the Court’s


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               Order granting the Anticipated Motion for Leave or the Written Consent, or by

               such other time as may be ordered by the Court.



Dated: July 30, 2021

Respectfully submitted,



_/s/ Thomas J. McKee, Jr.____________             _/s/ Erika L. Morabito__________________
David G. Barger (VSB No. 21652)                   Erika L. Morabito (VSB No. 44369)
Thomas J. McKee, Jr. (VSB No. 68427)              Brittany J. Nelson (VSB No. 81734)
Greenberg Traurig, LLP                            QUINN EMANUEL URQUHART &
1750 Tysons Boulevard, Suite 1000                 SULLIVAN LLP
McLean, Virginia 22102                            1300 I Street, N.W., Suite 900
Telephone: (703) 749-1300                         Washington, DC 20005
Facsimile: (703) 749-1301                         Telephone: (202) 538-8334
Email: bargerd@gtlaw.com                          Email: erikamorabito@quinnemanuel.com
        mckeet@gtlaw.com                                   brittanynelson@quinnemanuel.com

and                                               Special Counsel to Plaintiff

J. Gregory Milmoe (admitted pro hac vice)
Greenberg Traurig, LLP
One International Place, Suite 2000
Boston, MA 02110
Telephone: (617) 310-6064
Email: milmoeg@gtlaw.com

Counsel to Defendants



SO ORDERED, this _____ day of ____________, 2021:
                             Aug 5 2021

                             /s/ Kevin R Huennekens
                             ____________________________________
                             THE HONORABLE KEVIN R. HUENNEKENS
                             UNITED STATES BANKRUPTCY JUDGE

                             Entered On Docket: Aug 6 2021




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                 LOCAL BANKRUPTCY RULE 9022-1(C) CERTIFICATION

       I hereby certify that the foregoing has either been endorsed by or served upon all
necessary parties.




                                          _/s/ Thomas J. McKee, Jr.____________
                                          Thomas J. McKee, Jr. (VSB No. 68427)
                                          Greenberg Traurig, LLP
                                          1750 Tysons Boulevard, Suite 1000
                                          McLean, Virginia 22102
                                          Telephone: (703) 749-1300
                                          Facsimile: (703) 749-1301
                                          Email: mckeet@gtlaw.com

                                          Counsel to Defendants




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Service List

David G. Barger (VSB No. 21652)
Thomas J. McKee, Jr. (VSB No. 68427)
Greenberg Traurig, LLP
1750 Tysons Boulevard, Suite 1000
McLean, Virginia 22102
Telephone: (703) 749-1300
Facsimile: (703) 749-1301
Email: bargerd@gtlaw.com
       mckeet@gtlaw.com
Counsel to Defendants

J. Gregory Milmoe (admitted pro hac vice)
Greenberg Traurig, LLP
One International Place, Suite 2000
Boston, MA 02110
Telephone: (617) 310-6064
Email: milmoeg@gtlaw.com
Counsel to Defendants

Erika L. Morabito (VSB No. 44369)
Brittany J. Nelson (VSB No. 81734)
QUINN EMANUEL URQUHART & SULLIVAN LLP
1300 I Street, N.W., Suite 900
Washington, DC 20005
Telephone: (202) 538-8334
Email: erikamorabito@quinnemanuel.com
        brittanynelson@quinnemanuel.com
Counsel to Lynn L. Tavenner, Chapter 7 Trustee




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